Case 20-10250-mkn Doc1 Entered 01/16/20 16:42:43 Page1of11

Fill in this information to identify your case:

 

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

 

Case number (if known) Chapter 7

 

O Check if this an
amended filing

 

 

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy aig

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Iindividuals, is available.

1. Debtor's name DOMI PUBLICATIONS, LLC

 

2. All other names debtor
used in the last 8 years

Include any assumed DBA MOMPOV.COM

names, trade names and
doing business as names

 

3. Debtor's federal
Employer Identification | XX-XXXXXXX
Number (EIN)

 

4. Debtor's address Principal place of business Nailing address, if different from principal place of
business

10620 So. Highlands Pkwy., #110-334
Las Vegas, NV 89141

 

 

Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code
Clark Location of principal assets, if different from principal
County place of business

 

Number, Street, City, State & ZIP Code

 

 

5. Debtor's website (URL) | www.domipublications.com

 

6. Type of debtor IZ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
C Partnership (excluding LLP)
CO Other. Specify:

 

 

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1
Case 20-10250-mkn Doc1 Entered 01/16/20 16:42:43 Page 2 of 11

Debtor DOMI PUBLICATIONS, LLC Case number (if known)

Name

 

7. Describe debtor's business A. Check one:

bDoooaad

Health Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Railroad (as defined in 11 U.S.C. § 101(44))

Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))
Clearing Bank (as defined in 11 U.S.C. § 781(3))

None of the above

B. Check all that apply

C1] Tax-exempt entity (as described in 26 U.S.C. §501)

[J investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
C1 investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
See http:/Avww.uscourts.gov/four-digit-national-association-naics-codes.

 

 

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

Check one:

H Chapter 7

[J Chapter 9

OO Chapter 11. Check ail that apply:

[] Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).

Cl The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
business debtor, attach the most recent balance sheet, statement of operations, cash-flow
statement, and federal income tax return or if all of these documents do not exist, follow the
procedure in 11 U.S.C. § 1116(1)(B).

[] Aplan is being filed with this petition.

O_ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).

[1 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
(Official Form 201A) with this form.

1 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
OO Chapter 12

 

9. Were prior bankruptcy
cases filed by or against
the debtor within the last 8
years?

If more than 2 cases, attach a
separate list.

El No.
Cl Yes.

District When Case number

District When Case number

 

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list

No
OO Yes.

Debtor Relationship

 

District When Case number, if known

 

 

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
Case 20-10250-mkn

Doc 1 Entered 01/16/20 16:42:43 Page 3of11

Case number (if known)

 

 

Debtor DOMI PUBLICATIONS, LLC
Name
11. Why is the case filed in Check alf that apply:

this district?

— Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.

(1 — Abankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 

12. Does the debtorownor [No
have possession of any
real property or personal (1 Yes.

property that needs
immediate attention?

Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check all that apply.)
[J It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

 

[2] It needs to be physically secured or protected from the weather.

IJ It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

C1 Other

 

Where is the property?

 

Number, Street, City, State & ZIP Code
Is the property insured?
[J No

Ol Yes, Insurance agency

 

Contact name

 

Phone

 

 

aa Statistical and administrative information

 

13. Debtor's estimation of Check one:

available funds

0 Funds will be available for distribution to unsecured creditors.

FA After any administrative expenses are paid, no funds will be available to unsecured creditors.

 

14. Estimated number of 1-49
redit
creditors 1 50-99
C1 100-199
1 200-999

1 1,000-5,000
1 5001-10,000
1 10,001-25,000

11 25,001-50,000
C1 50,001-100,000
[] More than100,000

 

15. Estimated Assets EB $0 - $50,000

1 $50,001 - $100,000
0 $100,001 - $500,000
CO $500,004 - $1 million

1 $1,000,001 - $10 million

[J $10,000,001 - $50 million
CI $50,000,001 - $100 million
1 $100,000,001 - $500 million

C1 $500,000,001 - $1 billion

1 $1,000,000,001 - $10 billion
C2 $10,000,000,001 - $50 billion
1 More than $50 billion

 

16. Estimated liabilities D1 $0 - $50,000
O $50,001 - $100,000
C1 $100,001 - $500,000

(1 $500,001 - $4 million

(1 $1,000,001 - $10 million

Hi $10,000,001 - $50 million
LJ $50,000,001 - $100 million
C1 $100,000,001 - $500 million

CO $500,000,001 - $1 billion

CZ $1,000,000,001 - $10 billion
O $10,000,000,001 - $50 billion
OO More than $50 billion

 

 

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

page 3
Case 20-10250-mkn

Debtor

DOMI PUBLICATIONS, LLC

 

Name

| Request for Relief, Declaration, and Signatures

Doc 1 Entered 01/16/20 16:42:43 Page 4 of 11

Case number (if known)

 

 

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or

imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature

of authorized
representative of debtor

18. Signature of attorney

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on

tj (6/3

MM7 DD LYYYY
Signature Af pithorzed Tepresentative of debtor

Title Member-Manager

 

  
 
 

Se”

 

Signaturé’of attorney for So
Matthew C. Zirzow 722
Printed name :

LARSON ZIRZOW KAPLAN & COTTNER
Firm name

850 E. Bonneville Ave.
Las Vegas, NV 89101
Number, Street, City, State & ZIP Code

Contact phone 702-382-1170 Email address

7222 NV

Douglas J. Wiederhold

 

Printed name

SM ao

Date

 

MMé DD /YYYY

mzirzow@Izkclaw.com

 

 

Bar number and State

 

Official Form 201

Voluntary Petition for Non-individuals Filing for Bankruptcy

page 4

 
Case 20-10250-mkn Doci1 Entered 01/16/20 16:42:43 Page5of11

UNANIMOUS WRITTEN CONSENT OF THE SOLE MANAGER AND SOLE MEMBER
OF DOMI PUBLICATIONS, LLC, a Nevada limited liability company

The undersigned, being the sole manager and member of DOMI PUBLICATIONS, LLC, a
Nevada limited liability company (the “Company”), hereby approve and adopt the following
resolutions effective as of January 16, 2020:

RESOLVED that in the judgment of the sole manager and member of the Company, and upon
the advice of insolvency counsel, it is desirable and in the best interests of the Company and its
creditors and other interested parties that a voluntary petition for relief be filed under chapter 7 of title
11 of the United States Code (the “Bankruptcy Code”), and such filing is authorized hereby, and the
Company shall initiate a bankruptcy case and proceedings.

RESOLVED that DOUGLAS WIEDERHOLD (the “Authorized Person”), shall be
authorized, empowered and directed, in the name and on behalf of the Company, to execute and verify
a bankruptcy petition, schedules, statements, and any amendments thereto under chapter 7 of the
Bankruptcy Code and to cause the same to be filed in the United States Bankruptcy Court for the
District of Nevada at such time as such Authorized Person executing the same shall determine.

RESOLVED that the Authorized Person shall be designated as the responsible person in the
Company’s chapter 7 bankruptcy case pursuant to Fed. R. Bankr. P. 9001(5) (the “Responsible
Person”), and is authorized and directed to appear in all bankruptcy proceedings on behalf of the
Company, and to otherwise do and perform all acts necessary documents on behalf of the Company
in connection with such bankruptcy case, but consistent with the provisions of the Bankruptcy Code,
and subject to the chapter 7 trustee upon the commencement of the bankruptcy case.

RESOLVED that the law firm of LARSON ZIRZOW KAPLAN & COTTNER, LLC is
engaged and shall continue its engagement as attorneys for the Company in the chapter 7 case of the
Company, and its legal representation agreement is approved.

RESOLVED that the Responsible Person is, authorized, empowered and directed, in the name
and on behalf of the Company, to execute and file all papers, and to take and perform any and all
further acts and deeds which he or she deems necessary and proper to commence the chapter 7 case.

RESOLVED that any and all past actions heretofore taken by the Responsible Person of the
Company in the name and on behalf of the Company in furtherance of any or all of the preceding
resolutions with respect to the preparation and commencement of the chapter 7 case be, and the same
hereby are, ratified, confirmed, and approved; and

IN WITNESS WHEREOF, the undersigned, being the members of the Board, by execution .
hereof, hereby approve this Written Consent as of the date first above written.

DOMI PUBLICATIONS, LLC,
a Nevada limited liability company:

ey: G7 ple

Douglas jiederhold, as Sole Manager and Member

 

i
Case 20-10250-mkn Doc1 Entered 01/16/20 16:42:43 Page 6 of 11

United States Bankruptcy Court
District of Nevada

Inre _DOMI PUBLICATIONS, LLC Case No.

 

 

Debtor(s) Chapter 7

 

VERIFICATION OF CREDITOR MATRIX

I, the Member-Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.

 

Date: [- Ig-Z20

 

 

Dougl J, Wiederhold/Member-Manager
Signet/Title

 

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com Best Case Bankruptcy
Case 20-10250-mkn

DOMI PUBLICATIONS, LLC
10620 So. Highlands Pkwy., #110-334
Las Vegas, NV 89141

Clark County Treasurer
c/o Bankruptcy Clerk

500 S. Grand Central Pkwy
P.O. Box 551220

Las Vegas, NV 89155

Nevada Dept. of Taxation
Bankruptcy Section

555 E. Washington Avenue #1300
Las Vegas, NV 89101

BLL Media Holdings, LLC

c/o Panakos Law, APC

Attn: Aaron Sadock, Esq.

555 West Beech Street, Suite 500
San Diego, CA 92101

Douglas Wiederhold

c/o The UPS Store

10620 So. Highlands Pkwy, # 110-334
Las Vegas, NV 89141

GIRLSDOPORN.COM

c/o Panakos Law, APC

555 West Beech St., Suite 500
San Diego, CA 92101

Jane Doe No. |

c/o John J. O'Brien, Esq.
O'Brien Law Firm, APLC
750 B Street, Suite 1610
San Diego, CA 92101-8131

Jane Doe No. 1

c/o Robert Hamparayan, APC
Attn: Robert Hamparyan, Esq.
275 Market Street

San Diego, CA 92101

Jane Doe No. 10

c/o Michael T. O'Halloran

110 West A Street, Suite 1100
San Diego, CA 92101

Jane Doe No. 11

c/o Holm Law Group, PC

Brian N. Holm, Esq.

12636 High Bluff Drive, Ste. 400
San Diego, CA 92130

Matthew C. Zirzow

LARSON ZIRZOW KAPLAN & COTTNER

850 E. Bonneville Ave.
Las Vegas, NV 89101

Clark County Assessor

c/o Bankruptcy Clerk

500 S. Grand Central Pkwy
Box 551401

Las Vegas, NV 89155

Social Security Administration

Attn: Bankruptcy Desk/Managing Agent
PO Box 33021

Baltimore, MD 21290-3021

BLL Media, Inc.

c/o Panakos Law, APC

Attn: Aaron Sadock, Esq.
555 West Beech St., Suite 500
San Diego, CA 92101

EG Publications, Inc.

c/o Panakos Law, APC

Attn: Aaron Sadock, Esq.

555 West Beech Street, Suite 500
San Diego, CA 92101

GT Group Limited

1st Floor Pacific Building
P.O. Box 1487
Bougainville House Rue
Port Vila, Vanuatu

Jane Doe No. 1

c/o Holm Law Group, PC

Brian N. Holm, Esq.

12636 High Bluff Drive, Ste. 400
San Diego, CA 92130

Jane Doe No. 10

c/o John J. O'Brien, Esq.
O'Brien Law Firm, APLC
750 B Street, Suite 1610
San Diego, CA 92101-8131

Jane Doe No. 10

c/o Robert Hamparayan, APC
Attn: Robert Hamparyan, Esq.
275 Market Street

San Diego, CA 92101

Jane Doe No. 11

c/o Michael T. O'Halloran

110 West A Street, Suite 1100
San Diego, CA 92101

Doc 1 Entered 01/16/20 16:42:43. Page7 of 11

Internal Revenue Service

Attn: Bankruptcy Dept/Managing Agent
P.O. Box 7346

Philadelphia, PA 19101

Dept. of Empl, Training & Rehab
Employment Security Division

500 East Third Street

Carson City, NV 89713

Andre Garcia

c/o Panakos Law, APC
Attn: Aarson Sadock, Esq.
San Diego, CA 92101

Bubblegum Films, Inc.

c/o Panakos Law, APC

Attn: Aaron Sadock, Esq.

555 East Beech Street, Suite 500
San Diego, CA 92101

Fraud Law Group, PLC

Faith A. Devine, as Receiver
5857 Owens Avenue, Suite 300
Carlsbad, CA 92008

Gupta Evans & Associates, PC
Attn: Ajay Gupta, Esq.

1620 5th Avenue, Suite 650
San Diego, CA 92101

Jane Doe No. 1

c/o Michael T. O'Halloran

110 West A Street, Suite 1100
San Diego, CA 92101

Jane Doe No. 10

c/o Holm Law Group, PC

Brian N. Holm, Esq.

12636 High Bluff Drive, Ste. 400
San Diego, CA 92130

Jane Doe No. 11

c/o John J. O'Brien, Esq.
O'Brien Law Firm, APLC
750 B Street, Suite 1610
San Diego, CA 92101-8131

Jane Doe No. 11

c/o Robert Hamparayan, APC
Attn: Robert Hamparyan, Esq.
275 Market Street

San Diego, CA 92101

 

 
Case 20-10250-mkn

Jane Doe No. 12

c/o John J. O'Brien, Esq.
O'Brien Law Firm, APLC
750 B Street, Suite 1610
San Diego, CA 92101-8131

Jane Doe No. 12

c/o Robert Hamparayan, APC
Attn: Robert Hamparyan, Esq.
275 Market Street

San Diego, CA 92101

Jane Doe No. 13

c/o Michael T. O'Halloran

110 West A Street, Suite 1100
San Diego, CA 92101

Jane Doe No. 14

c/o Holm Law Group, PC

Brian N. Holm, Esq.

12636 High Bluff Drive, Ste. 400
San Diego, CA 92130

Jane Doe No. 15

c/o John J. O'Brien, Esq.
O'Brien Law Firm, APLC
750 B Street, Suite 1610
San Diego, CA 92101-8131

Jane Doe No. 15

c/o Robert Hamparayan, APC
Attn: Robert Hamparyan, Esq.
275 Market Street

San Diego, CA 92101

Jane Doe No. 16

c/o Michael T. O'Halloran

110 West A Street, Suite 1100
San Diego, CA 92101

Jane Doe No. 17

c/o Holm Law Group, PC

Brian N. Holm, Esq.

12636 High Bluff Drive, Ste. 400
San Diego, CA 92130

Jane Doe No. 18

c/o John J. O'Brien, Esq.
O'Brien Law Firm, APLC
750 B Street, Suite 1610
San Diego, CA 92101-8131

Jane Doe No. 18

c/o Robert Hamparayan, APC
Attn: Robert Hamparyan, Esq.
275 Market Street

San Diego, CA 92101

Jane Doe No.

c/o Holm Law Group, PC

Brian N. Holm, Esq.

12636 High Bluff Drive, Ste. 400
San Diego, CA 92130

Jane Doe No. 13

c/o John J. O'Brien, Esq.
O'Brien Law Firm, APLC
750 B Street, Suite 1610
San Diego, CA 92101-8131

Jane Doe No. 13

c/o Robert Hamparayan, APC
Attn: Robert Hamparyan, Esq.
275 Market Street

San Diego, CA 92101

Jane Doe No. 14

c/o Michael T. O'Halloran

110 West A Street, Suite 1100
San Diego, CA 92101

Jane Doe No. 15

c/o Holm Law Group, PC

Brian N. Holm, Esq.

12636 High Bluff Drive, Ste. 400
San Diego, CA 92130

Jane Doe No. 16

c/o John J. O'Brien, Esq.
O'Brien Law Firm, APLC
750 B Street, Suite 1610
San Diego, CA 92101-8131

Jane Doe No. 16

c/o Robert Hamparayan, APC
Attn: Robert Hamparyan, Esq.
275 Market Street

San Diego, CA 92101

Jane Doe No. 17

c/o Michael T. O'Halloran

110 West A Street, Suite 1100
San Diego, CA 92101

Jane Doe No. 18

c/o Holm Law Group, PC

Brian N. Holm, Esq.

12636 High Bluff Drive, Ste. 400
San Diego, CA 92130

Jane Doe No. 19

c/o John J. O'Brien, Esq.
O'Brien Law Firm, APLC
750 B Street, Suite 1610
San Diego, CA 92101-8131

Doc 1 Entered 01/16/20 16:42:43 Page 8 of i+

Jane Doe No.

c/o Michael T. O'Halloran

110 West A Street, Suite 1100
San Diego, CA 92101

Jane Doe No. 13

c/o Holm Law Group, PC

Brian N. Holm, Esq.

12636 High Bluff Drive, Ste. 400
San Diego, CA 92130

Jane Doe No. 14

c/o John J. O'Brien, Esq.
O'Brien Law Firm, APLC
750 B Street, Suite 1610
San Diego, CA 92101-8131

Jane Doe No. 14

c/o Robert Hamparayan, APC
Attn: Robert Hamparyan, Esq.
275 Market Street

San Diego, CA 92101

Jane Doe No. 15

c/o Michael T. O'Halloran

110 West A Street, Suite 1100
San Diego, CA 92101

Jane Doe No. 16

c/o Holm Law Group, PC

Brian N. Holm, Esq.

12636 High Bluff Drive, Ste. 400
San Diego, CA 92130

Jane Doe No. 17

c/o John J. O'Brien, Esq.
O'Brien Law Firm, APLC
750 B Street, Suite 1610
San Diego, CA 92101-8131

Jane Doe No. 17

c/o Robert Hamparayan, APC
Attn: Robert Hamparyan, Esq.
275 Market Street

San Diego, CA 92101

Jane Doe No. 18

c/o Michael T. O'Halloran

110 West A Street, Suite 1100
San Diego, CA 92101

Jane Doe No. 19

c/o Holm Law Group, PC

Brian N. Holm, Esq.

12636 High Bluff Drive, Ste. 400
San Diego, CA 92130

 

 

 
Case 20-10250-mkn,

Jane Doe No. 19

c/o Michael T. O'Halloran

110 West A Street, Suite 1100
San Diego, CA 92101

Jane Doe No. 2

c/o Holm Law Group, PC

Brian N. Holm, Esq.

12636 High Bluff Drive, Ste. 400
San Diego, CA 92130

Jane Doe No. 20

c/o John J. O'Brien, Esq.
O'Brien Law Firm, APLC
750 B Street, Suite 1610
San Diego, CA 92101-8131

Jane Doe No. 20

c/o Robert Hamparayan, APC
Attn: Robert Hamparyan, Esq.
275 Market Street

San Diego, CA 92101

Jane Doe No. 21

c/o Michael T. O'Halloran

110 West A Street, Suite 1100
San Diego, CA 92101

Jane Doe No. 22

c/o Holm Law Group, PC

Brian N. Holm, Esq.

12636 High Bluff Drive, Ste. 400
San Diego, CA 92130

Jane Doe No. 23

c/o D. Loren Washburn, Esq.
Smith Washburn, LLP

500 South Grand Ave., Suite 1450
Los Angeles, CA 90071

Jane Doe No. 23

c/o Robert Hamparayan, APC
Attn: Robert Hamparyan, Esq.
275 Market Street

San Diego, CA 92101

Jane Doe No. 3

c/o Michael T. O'Halloran

110 West A Street, Suite 1100
San Diego, CA 92101

Jane Doe No. 4

c/o Holm Law Group, PC

Brian N. Holm, Esq.

12636 High Bluff Drive, Ste. 400
San Diego, CA 92130

Jane Doe No.

c/o Robert Hamparayan, APC
Attn: Robert Hamparyan, Esq.
275 Market Street

San Diego, CA 92101

Jane Doe No. 2

c/o Michael T. O'Halloran

110 West A Street, Suite 1100
San Diego, CA 92101

Jane Doe No. 20

c/o Holm Law Group, PC

Brian N. Holm, Esq.

12636 High Bluff Drive, Ste. 400
San Diego, CA 92130

Jane Doe No. 21

c/o John J. O'Brien, Esq.
O'Brien Law Firm, APLC
750 B Street, Suite 1610
San Diego, CA 92101-8131

Jane Doe No. 21

c/o Robert Hamparayan, APC
Attn: Robert Hamparyan, Esq.
275 Market Street

San Diego, CA 92101

Jane Doe No. 22

c/o Michael T. O'Halloran

110 West A Street, Suite 1100
San Diego, CA 92101

Jane Doe No. 23

c/o Holm Law Group, PC

Brian N. Holm, Esq.

12636 High Bluff Drive, Ste. 400
San Diego, CA 92130

Jane Doe No. 3

c/o John J. O'Brien, Esq.
O'Brien Law Firm, APLC
750 B Street, Suite 1610
San Diego, CA 92101-8131

Jane Doe No. 3

c/o Robert Hamparayan, APC
Attn: Robert Hamparyan, Esq.
275 Market Street

San Diego, CA 92101

Jane Doe No. 4

c/o Michael T. O'Halloran

110 West A Street, Suite 1100
San Diego, CA 92101

Doc 1 Entered 01/16/20 16:42: 43. Page 9 © 9 of pl

Jane
c/o John J. OBrien, Esq.
O'Brien Law Firm, APLC
750 B Street, Suite 1610
San Diego, CA 92101-8131

Jane Doe No. 2

c/o Robert Hamparayan, APC
Attn: Robert Hamparyan, Esq.
275 Market Street

San Diego, CA 92101

Jane Doe No. 20

c/o Michael T. O'Halloran

110 West A Street, Suite 1100
San Diego, CA 92101

Jane Doe No. 21

c/o Holm Law Group, PC

Brian N. Holm, Esq.

12636 High Bluff Drive, Ste. 400
San Diego, CA 92130

Jane Doe No. 22

c/o John J. O'Brien, Esq.
O'Brien Law Firm, APLC
750 B Street, Suite 1610
San Diego, CA 92101-8131

Jane Doe No. 22

c/o Robert Hamparayan, APC
Attn: Robert Hamparyan, Esq.
275 Market Street

San Diego, CA 92101

Jane Doe No. 23

c/o Michael T. O'Halloran

110 West A Street, Suite 1100
San Diego, CA 92101

Jane Doe No. 3

c/o Holm Law Group, PC

Brian N. Holm, Esq.

12636 High Bluff Drive, Ste. 400
San Diego, CA 92130

Jane Doe No. 4

c/o John J. O'Brien, Esq.
O'Brien Law Firm, APLC
750 B Street, Suite 1610
San Diego, CA 92101-8131

Jane Doe No. 4

c/o Robert Hamparayan, APC
Attn: Robert Hamparyan, Esq.
275 Market Street

San Diego, CA 92101

 

 
Case 20-10250-mkn

Jane Doe No. 5

c/o John J. O'Brien, Esq.
O'Brien Law Firm, APLC
750 B Street, Suite 1610
San Diego, CA 92101-8131

Jane Doe No. 5

c/o Robert Hamparayan, APC
Attn: Robert Hamparyan, Esq.
275 Market Street

San Diego, CA 92101

Jane Doe No. 6

c/o Michael T. O'Halloran

110 West A Street, Suite 1100
San Diego, CA 92101

Jane Doe No. 7

c/o Holm Law Group, PC

Brian N. Holm, Esq.

12636 High Bluff Drive, Ste. 400
San Diego, CA 92130

Jane Doe No. 8

c/o John J. O'Brien, Esq.
O'Brien Law Firm, APLC
750 B Street, Suite 1610
San Diego, CA 92101-8131

Jane Doe No. 8

c/o Robert Hamparayan, APC
Attn: Robert Hamparyan, Esq.
275 Market Street

San Diego, CA 92101

Jane Doe No. 9

c/o Michael T. O'Halloran

110 West A Street, Suite 1100
San Diego, CA 92101

Law Office of George Rikos
c/o George Rikos, Esq.

225 Broadway Ste 2100

San Diego, CA 92101

Merro Media Holdings, LLC
c/o Panakos Law, APC

Attn: Aaron Sadock, Esq.

555 East Beech Street, Suite 500
San Diego, CA 92101

Michael Pratt

c/o Panakos Law, APC
555 West Beech St.
San Diego, CA 92101

Doc 1__ Entered 01/16/20 16:42:43 rae AGE, 19 10 | Of, 11

Jane Doe No.

c/o Holm Law Group, PC

Brian N. Holm, Esq.

12636 High Bluff Drive, Ste. 400
San Diego, CA 92130

Jane Doe No. 6

c/o John J. O'Brien, Esq.
OBrien Law Firm, APLC
750 B Street, Suite 1610
San Diego, CA 92101-8131

Jane Doe No. 6

c/o Robert Hamparayan, APC
Attn: Robert Hamparyan, Esq.
275 Market Street

San Diego, CA 92101

Jane Doe No. 7

c/o Michael T. O'Halloran

110 West A Street, Suite 1100
San Diego, CA 92101

Jane Doe No. 8

c/o Holm Law Group, PC

Brian N. Holm, Esq.

12636 High Bluff Drive, Ste. 400
San Diego, CA 92130

Jane Doe No. 9

c/o John J. O'Brien, Esq.
O'Brien Law Firm, APLC
750 B Street, Suite 1610
San Diego, CA 92101-8131

Jane Doe No. 9

c/o Robert Hamparayan, APC
Attn: Robert Hamparyan, Esq.
275 Market Street

San Diego, CA 92101

Law Offices of Daniel Kaplan
Attn: Daniel A. Kaplan, Esq.
555 West Beech St., #230

San Diego, CA

Metro Media, Inc.

c/o Panakos Law, APC

Attn: Aaron Sadock, Esq.

555 East Beech Street, Suite 500
San Diego, CA 92101

Michael Pratt
113 West G Street, Suite 123
San Diego, CA 92101

Jane :
c/o Michael . O Halloran
110 West A Street, Suite 1100
San Diego, CA 92101

Jane Doe No. 6

c/o Holm Law Group, PC

Brian N. Holm, Esq.

12636 High Bluff Drive, Ste. 400
San Diego, CA 92130

Jane Doe No. 7

c/o John J. O'Brien, Esq.
O'Brien Law Firm, APLC
750 B Street, Suite 1610
San Diego, CA 92101-8131

Jane Doe No. 7

c/o Robert Hamparayan, APC
Attn: Robert Hamparyan, Esq.
275 Market Street

San Diego, CA 92101

Jane Doe No. 8

c/o Michael T. O'Halloran

110 West A Street, Suite 1100
San Diego, CA 92101

Jane Doe No. 9

c/o Holm Law Group, PC

Brian N. Holm, Esq.

12636 High Bluff Drive, Ste. 400
San Diego, CA 92130

Law Office of Clyde DeWitt
c/o Clyde DeWitt, Esq.

PO Box 26185

Las Vegas, NV 89126

Matthew Wolfe
c/o Panakos Law, APC |
Attn: Aaron Sadock, Esq. |
555 West Beech St., Suite 500
San Diego, CA 92101

Michael J. Pratt
10375 Cervaza Baja Drive
Escondido, CA 92026

MIM Media, LLC

c/o Panakos Law, APC

Attn: Aaron Sadock, Esq.

555 West Beech Street, Suite 500
San Diego, CA 92101

\
|
i
j

 

 
Oh Well Media, ri ase 20-10250-mkn Payot A rotatered ON/16/20 16:42:43 Frage tt Ory

Superior Ct of California, San Diego Douglas J. Weiderhold
Attn: Hon. R. Wohlfeil c/o The UPS Store
330 W. Broadway 10620 So. Highlands Pkwy, # 110-334

San Diego, CA 92101 Las Vegas, NV 89141

 

 

 
